CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED C()UNSEL
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l. CIRJDIST..'DI¥'<SG:El L '

TNW Tuggle, Miranda

 

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3. MAC. DKT..'DEF. NUM BER 4. DIST. DKTJDEF. NUMBER

2:04-0201 12-007-

5. APPE.ALS DKT.IDEF. NUMBER

6. OTH'E.R DKT. NUMBF.R

 

1. tN cAsi:/MATTER or s. PAYM ENT cATEGoRY
U.S. v. Tuggle Fe|ony

(Case Name]

 

9. TYPE PERS()N REPRESENTED

l(i. REPRESENTAT|ON T\"PE
(See lostrucilons)

Probation Revocation

 

Aduit Defendant

 

ll. OFFENSE(S) CH ARGED (Ciie U.S. CodE, Title & Scctioll)

It'more than one orien;e, list (up to llve) major ofinsei charged. according to severiiy of oliense.

l) 18 5]3A.F -- UTTE R FORGED AND COUNTERFEIT SECURITY

 

12. A'!"`I`ORNEY'S NAME
AND MAIL|NG ADDR

Harviel, T Ciif“`ton
Harvie] Law Office
50 North Front Street
Suite 850

Memphis TN 38103

Telephone Number: (901) 543 '9799
14. NAME AND MAiLING ADDRESS OF` LAW FIRM (oniy provide per lnstructluns)

Eg?S|riit Name, M.l.. Lasi Name, including any iui\l'|!)

      
    
 

 

 

 

  

 

   

13. comm emma ‘.
0 Appnlnt|ng Counsel ij C Co~Counsel _ \?;§`
ij F Subl For Federal Del'ender \:] R Subs For Reiained Atiorney
m P Subl For Panel Atiorney \:\ Y Siandby Coullleie §
Prlor At|nrney‘s Name: ‘\’Y" 63
Appoinimeni Date: ________,_ _ va
i:i Because the above-named perso represented has testified under nieii" _ ._ f
otherwise satisfied ihls court that l ' she (l) is financially unable in em model and
... . l ¢ » bennie the interests oi']ustice m reqqlre(ihe 43

15

¢- 12 ls appointed to represent this persogia this i:'ase,

Slgnatur¢ or Presiding Ju . lelal l l‘i`lcer or By Order ut'ihe Court
[lR

1'? 'i/?ilfli F$U

fp C:;n
Date ol' Order Nuni: Prn ‘i`unc Dlte

Repayment or partial repayment ordered from the person represented for this service at
time of appointmeni. YES

 
 

 

 

 

 

 

 

 

 

 

 

 

 

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representation? YES U N() ll'yes. give details oi\ additional sheets.
l swear or affirm the truth or correctness of the above sialemenis.

Signature ol' Aiiorne

Hsve you previously applied ta the court rcr compensation andfor remlmbursement l'or this use'.'
Other than from the couri, have you, or to your knowledge has anyone else, received payment (cumpensaiion or anything or value) from any other source in connection with this

CATEGORIES (Atiach itemization of services with dates) CERIH,|R§D CAYME MA§I§§[S?|'|;EES?)H KTJ§§:T:E§)H ADRB{.?EO`¥AL
15. a. Arraignment andjor Piea

b. Bail and Detention Hearings

c. Motion Hearings
L d. Triai
C e. Sentencing Hearlngs
3 f. Revocation Hearings
tr g. Appeals Court

it. Other (Specify on additional sheeis)

(Raie per hour = 5 ) TOTALS:
16. a. Interviews end Conferences
(\`it) b. Obtaining and reviewing records
0 c. Legai research and brief writing
; d. Travel time
§ e. lnvestigative and Other work ispeeity nn additional rheem
§ (Raie per hour - S ) 'IlOTALS:
i'l. Travel Expenses (lodglng, parking, meals, mileage, etc.)
18. Other Expenses (other than expert, transcripts etc.)
i9. CERT|FICATION OF ATTORNEY."PAYEE FOR THE PERIOD O F SERV|CE 20. AFPOINTMENT TERMINAT|ON DATE 21. CASE DISPO SITIDN
FROM m ir oriiER THAN CAsi: COMPLETION

22. CLAlM STATUS l:l Finnt hyman El interim rlyrn¢ntNurnb¢r ij supplemental hym¢m

i:i YES ij NO ll' yes, were you paid? I:i YES [:] NO

Di\le:

 

   
 

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. lN COURT COMP 14. OUT OF COURT COMP.

25. TRAVEL EXPENSES

 

      
  

     

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16. OTHER EXPENSES 27. TOTM, AMTv AFPR¢‘CERT

  

 

SIGNATURE OF THE PRESIDING JUDlClAL OFFl(.`ER

DATE ZBa. JUDCE 1 MAG. JUDGE CODE

 

29. lN COURT COMF. 30. OUT OF COURT COMP.

 

 

31. TRAVEL EXPENSES

32. OTHER EXPENSES 33. TOTAL AMT, APF'ROVE'D

 

34. SIGNATURE OF CHlEF .IUDGE. COURT 05 Al’l' EALS (OR DELECATE) Pay

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UNITED `sATEs DISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 259 in
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Honorable J on McCalla
US DISTRICT COURT

